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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


IN RE: SUBPOENA TO NON-PARTY AXS
TV LLC.

CUNG LEE, ET AL.,
                                                      Case No. 3:16-mc-12
        Plaintiffs,
                                                      Related to Case: C.A. No.: 2:15-CV-01045-
        v.                                            RFB-PAL (D. Nev.)
ZUFFA, LLC,

Defendants.



                       ORDER GRANTING MOTION FOR LEAVE TO
                         PROCEED WITHOUT LOCAL COUNSEL
        The court has considered the Motion for Leave to Proceed Without Local Counsel filed

by Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and Kyle

Kingsbury, on behalf of themselves and all others similarly situated, Plaintiffs in the Antitrust

Class Action captioned Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and

Kyle Kingsbury, on behalf of themselves and all others similarly situated, v. Zuffa, LLC, d/b/a Ultimate

Fighting Championship and UFC, 2:15-cv-01045-RFB-PAL (D. Nev.), for the limited purpose of

enforcing the Subpoena to Produce Documents served by Plaintiffs on AXS TV, LLC on

December 9, 2015.
        It is ORDERED that the motion is GRANTED.

        SO ORDERED on this 15th day of February, 2016.
